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Fu the Auited States District Court
for the Southern District of Georgia
Brunswick Division

MARGERY FREIDA MOCK and ERIC
SCOTT OGDEN, JR., individually
and on behalf of others
similarly situated,

No. 2:18-cv-25
Plaintiffs,

V.
GLYNN COUNTY, GEORGIA; E. NEAL
JUMP; ALEX ATWOOD; AND B. REID
ZEH, III;

Defendants.

 

ORDER

On March 9, 2018, Plaintiffs filed: the Complaint; a motion

for class certification; a motion for temporary restraining
order; and a motion for preliminary injunction. Dkt. Nos. l, 4,
5, and 6. Plaintiffs filed a single brief in support of both
the motion for temporary restraining order and the motion for
preliminary injunction. Dkt. No. 5-1. The next day, Plaintiffs
filed a motion to withdraw their motion for temporary
restraining order, which the Court granted. Dkt. Nos. 18, 42.
The Court understood the Plaintiffs to be withdrawing their

motion for preliminary injunction as well. It now seems clear

 
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that they are not. See Dkt. No. 50 (opposing a stay because of
its potential to bar Plaintiffs’ opportunity to be granted
preliminary relief). Because this case involves rapidly
changing circumstances, the parties may wish to - submit
additional briefing on the motion for preliminary injunction.

The Court hereby orders the following schedule:

June 26: deadline for supplemental briefing in support of

Plaintiffs’ motion for preliminary injunction;

July 10: deadline for Defendants’ response;

July 24: deadline for Plaintiffs’ reply;

July 25: hearing on motion for preliminary injunction.

SO ORDERED, this 12th day of June, 2018.

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HOM. LISA GODBEY WOOD, JUDGE
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA

 
